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Hon. Lewis J. Liman
United States District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

Dear Judge Liman:

        Plaintiff Blake Lively respectfully submits this letter in response to the Court’s Order at Dkt. No.
379. The Amended Complaint identifies numerous specific co-conspirators who committed overt acts in
furtherance of Defendants’ conspiracy while physically located in New York. “As just a few examples,”
the Amended Complaint alleges that Defendants Baldoni, Heath, and Wayfarer heard from Ms. Lively
in person in New York about the very complaints that prompted their retaliation campaign; that those
Defendants engaged Jonesworks, a non-party co-conspirator with a physical presence (and a principal
place of business) in New York; that Melissa Nathan lived in and “conducted business” in New York
“during a portion of the relevant period,”; and that Sarowitz announced the conspiracy’s plan to ruin the
lives of Ms. Lively and her family at the Film’s New York premiere. Am. Compl. ¶ 73. 1 The Amended
Complaint also alleges that Nathan (among other co-conspirators) furthered the conspiracy by
“communicating with (or causing content to be provided to) journalists, content creators, and media
entities based in New York, including at least one journalist at the New York Post and another at the
New York Times,” one of whom was Nathan’s sister. Id. ¶¶ 73, 240. Given that Nathan lived in New
York during a portion of the relevant period, it is reasonable to infer that Nathan conducted much of that
activity—each instance of which would constitute an overt act 2—while physically present in New York.

         Those New York contacts are easily attributed to the Wallace Defendants for purposes of a
motion-to-dismiss stage personal jurisdiction analysis. The Amended Complaint alleges that Nathan and
TAG “had a relationship with Mr. Wallace that preceded this litigation,” and that “Ms. Nathan worked
with Mr. Wallace on previous matters and TAG retained him to work with them on behalf of Defendant
Wayfarer and Mr. Baldoni.” Am. Compl. ¶ 222. It is reasonable to infer that Wallace knew that Nathan
resided in New York (or at least, that she had resided there during a portion of her participation in the
conspiracy). That is sufficient to attribute Nathan and TAG’s New York-based acts to the Wallace
Defendants under both New York and federal law. New York’s “broad approach to agency” attributes
long-arm statute contacts to co-conspirators when “a) the defendant had an awareness of the effects in
New York of [the conspiracy’s] activity; (b) the activity of the co-conspirators in New York was to the
benefit of the out-of-state conspirators; and (c) the co-conspirators acting in New York acted at the
direction or under the control, or at the request of or on behalf of the out-of-state defendant.” FAT Brands
Inc. v. Ramjeet, 75 F.4th 118, 126, 128 (2d Cir. 2023) (cleaned up). The Wallace Defendants have never
contested the first two elements, nor could they, because the Amended Complaint alleges that (1) the

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  Am. Compl. ¶ 62 (Nathan “lived in Brooklyn” during a “portion of the relevant period”); see Dkt. No. 153, ¶ 62 (Nathan
admitting this allegation).
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  In this context as in others, the “an overt act is any act performed by any conspirator for the purpose of accomplishing the
objectives of the conspiracy.” In re Platinum & Palladium Antitrust Litig., 61 F.4th 242, 271 (2d Cir. 2023) (cleaned up).



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Wallace Defendants knew that their co-conspirators included New York-based individuals and entities
who were taking steps in New York to retaliate against Ms. Lively and portray her in a false light, and
(2) that the Wallace Defendants were paid for it. Am. Compl. ¶¶ 63, 214, 222, 225–26. “The third
requirement—that the New York-based co-conspirators acted at the direction or under the control of the
out-of-state defendant—may be satisfied by an allegation that the out-of-state defendant was aware of
the torts being committed by co-conspirators in New York.” FAT Brands, 75 F.4th at 127 (cleaned up).
“In other words, New York courts do not mandate a showing of control or direction to establish
conspiracy-based personal jurisdiction,” Berkshire Bank v. Lloyds Banking Grp. plc, 2022 WL 569819,
at *3 (2d Cir. Feb. 25, 2022) (summary order), and this element is satisfied even where the out-of-state
defendant acts at the direction of an in-state co-conspirator, see Lawati v. Montague Morgan Slade Ltd.,
961 N.Y.S.2d 5, 8 (1st Dep’t 2013). Here, as in FAT Brands, Ms. Lively “alleges more than knowledge,”
she alleges that the Wallace Defendants “participated directly in the scheme being executed by, among
others, New York-based co-conspirators.” 75 F.4th at 127. The Court therefore must “easily infer that
they were aware of the torts being committed in New York.” Id.

        To be clear, however, conspiracy jurisdiction over the Wallace Defendants is also proper under
§ 302(a)(1) of the New York long-arm statute, something the Wallace Parties never challenged in their
opening brief. Although the Wallace Defendants challenged the application of the long-arm statute to
their own individual activities, Dkt. No. 142, at 13-15, the Wallace Defendants nowhere challenged the
sufficiency of other co-conspirator’s jurisdictional contacts under any provision of the New York long-
arm statute, Dkt. 161, at 15-17. Nor did the Wallace Parties challenge the attribution of their co-
conspirators’ conceded contacts to themselves under the cases they later cited in reply. Compare Dkt.
No. 142 at 13-18, with Dkt. No. 170, at 9-10. The Wallace Defendants’ silence as to their co-conspirators’
contacts was enough to establish statutory long-arm jurisdiction over them. Relevent Sports, LLC v.
United States Soccer Fed'n, Inc., 61 F.4th 299, 305 (2d Cir. 2023) (attributing contacts to an out-of-state
co-conspirator where “[n]o party disputes” the sufficiency of the in-state co-conspirator’s contacts).

       In any event, the co-conspirators had extensive suit-related (a)(1) contacts with New York that
must be attributed to the Wallace Defendants. “Section 302(a)(1) is a single act statute, meaning that,
proof of one transaction in New York is sufficient to invoke jurisdiction, even though the defendant
never enters New York, so long as the defendant’s activities here were purposeful.” Creative
Photographers, Inc. v. Grupo Televisa, S.A.B., 2024 WL 1533189, at *6 (S.D.N.Y. Apr. 8, 2024)
(cleaned up); see id. (equating “transacted business” under (a)(1) with purposeful availment). Supra at
1. Each of those contacts must be attributed to the Wallace Defendants under both the long-arm statute
and federal due process priniples. See Schwab Short-Term Bond Mkt. Fund v. Lloyds Banking Grp. PLC,
22 F.4th 103, 125 (2d Cir. 2021) (engaging in a conspiracy with co-conspirators “based in” a jurisdiction
renders “overt acts taken by” such co-conspirators foreseeable); Bur-Tex Hosiery, Inc. v. World Tech
Toys, Inc., 2024 WL 989841, at *9 (S.D.N.Y. Mar. 7, 2024) (“By joining the conspiracy with the
knowledge that overt acts in furtherance of the conspiracy had taken place in New York[,] the defendant
purposely availed himself of the privilege of conducting activities within New York.”) (cleaned up). 3


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  Any defects as to the allegations of personal jurisdiction with respect to the Wallace Parties would be curable by amendment
based upon materials obtained in discovery, including from Mr. Wallace. Those additional allegations would relate to the
nature and timing of the Wallace Defendants’ retention, information shared with the Wallace Defendants, and the nature and
timing of the co-conspirators activities in New York (including Ms. Nathan’s maintenance of a residence in New York).




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                                        Respectfully submitted,

                                        s/ Michael J. Gottlieb

                                        Counsel for Blake Lively




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